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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Crim. No. 18-cr-40010-TSH
                                              )
STACEY GALA PERRY and                         )
JOSEPH HERMAN,                                )
                                              )
                       Defendants.            )


            JOINT MEMORANDUM PURSUANT TO LOCAL RULE 116.5(c)

       The United States of America and defendants Stacey Gala Perry and Joseph Herman,

through their respective counsel, hereby submit this joint memorandum in advance of the final

status conference scheduled for June 15, 2018. By agreement, all of the time that has passed

since the defendants’ arraignment has been properly excluded pursuant to 18 U.S.C.

'3161(h)(7)(A).

       Presently, the parties request that the Court continue the final pre-trial conference for a

further 30 days. In support of that request, the parties submit that counsel for Stacey Gala has

had several personal and professional commitments and has not had adequate opportunity to

review the discovery produced and confer with her client regarding the appropriate next step.

The government and counsel for Joseph Herman do not object to that request.

       The parties further request that the Court exclude the time between June 15, 2018 and the

date set for the requested final status conference so that counsel can complete the review of the

discovery and the parties can potentially explore a resolution of these matters short of trial. The

parties submit that the ends of justice served by excluding the period of this continuance
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outweigh the best interest of the public and the defendant in a speedy trial, pursuant to 18 U.S.C.

'3161(h)(7)(A).


Respectfully submitted,

STACEY GALA PERRY,                                            ANDREW E. LELLING
By her counsel,                                               UNITED STATES ATTORNEY

/s/ Miriam Conrad                                     By:     /s/ Greg A. Friedholm
Miriam Conrad, Esq.                                           Greg. A. Friedholm
Federal Public Defender Office                                Assistant United States Attorney
51 Sleeper Street                                             595 Main Street
Boston, Massachusetts 02210                                   Worcester, Massachusetts 01608

JOSEPH HERMAN,
By his counsel,

/s/ Peter L. Ettenberg
Peter L. Ettenberg, Esq.
370 Main Street
Worcester, Massachusetts 01608


Dated: June 15, 2018




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Greg A. Friedholm
                                              Greg A. Friedholm
                                              Assistant U.S. Attorney

Date: June 15, 2018
